Case 5:16-cv-00538-TES-MSH Document1 Filed 12/07/16 Page 1 of 22

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CIVIL RIGHTS COMPLAINT PURSUANT TO 42 U.S.C7§/£ GEC -7 AM 9: 19

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IN THE UNITED STATES DISTRICT COURT, !).°.7.77"
FOR THE GREW DISTRICT OF GEORGIA
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WASEEM DAL 1971373
(Enter above the full name and prisoner
identification number of the plaintiff, GDC
number if a state prisoner.)

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picace SEC PACTS 6-10 Fen ALL ne Fermanrs
(Enter above the full name of the defendant(s).)

I. Previous Lawsuits
A. Have you filed other lawsuits in federal court while incarcerated in any institution?

Yes or No( )

If your answer to A is yes, describe each lawsuit in the space below. (If there is

more than one lawsuit, describe the additional lawsuits on another piece of paper,
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CE PACER FOR Moke. AN FOLM ABN .
see nas l. “Parties to this previous lawsuit:

B.

Plaintiff(s): _\N ASEEM\ DANCE

 

Defendant(s): NETL W ARRON,
WBA cOVUNTY

2. Court (name the district): _
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3. Docket Number: (ABON 0 Be AT

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Case 5:16-cv-00538-TES-MSH Document1 Filed 12/07/16 Page 2 of 22

Previous Lawsuits (Cont'd)

4, Name of judge to whom case was assigned: f\ My ToT CNR (

5, Did the previous case involve the same facts?
Yes( ) No ae
6. Disposition (Was the case dismissed? Was it appealed? Is it still pending’):

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wus. 13-9446, HH-1O0Fb, TT TS now s7elt Pp ENDTN GE.

 

7 Approximate date of filing lawsuit: yucy 1, V2 b

8. Approximate date of disposition: p{NA oN (

i. Exhaustion of Administrative Remedies
Pursuant to 28 U.S.C. § 1997e(a), no prisoner civil rights action shall be brought in federal

court until all available administrative remedies are exhausted. Exhaustion of administrative
remedies is a precondition to suit, and the prisoner plaintiff must establish that he has exhausted
the entire institutional grievance procedure in order to state a claim for relief.

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A. Place of Present Confinement:
B. Is there a prisoner grievance procedure in this institution?
Yes No( )
C. Did you present.the facts relating to your complaint under the institution’s grievance
procedure?

Yes xr No( )

D. If your answer is YES:
1. ‘What steps did you take and what were the results? ;
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2. If your answer is NQ.exPI in W
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Case 5:16-cv-00538-TES-MSH Document1 Filed 12/07/16 Page 3 of 22

Parties
(In item A below, place your name in the first blank and place your present address in the

second blank.)
A. Name of Plaintiff; YWhoaSteM dAICCR

 

 

 

Address(es): 419 ® (473
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(In item B below, place the full name of the defendant in the first blank, his/her official
position in the second blank, and his/her place of employment in the third blank. Do the

same for each additional defendant, if any.)

B. Defendant(s): Pruense por pTadepD Paley 6710.
AWARE aE 49 DEFENDANTS.

Employed as PCEmME SEO ATI AUIS pobes (> 0.

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Statement of Claim
State here as briefly as possible the facts of your case. Describe how each defendant is:

involved. Include also the names of other persons involved, dates, and places. Do not give any
legal arguments or cite any cases or statutes. If you intend to allege a number of related
claims, number and set forth each claim in a separate paragraph. (Use as much space as you

need. Attach extra sheets if necessary.)
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Case 5:16-cv-00538-TES-MSH Document1 Filed 12/07/16 Page 4 of 22

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no cases or statutes.
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V. Relief (Cont'd)
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Signature of Plaintiff

Signed this

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I declare under penalty of perjury that the foregoing is true and correct.

EXECUTED ON | U/ ly / /
(Date)

 

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LY, ASG AN MALT YO BEFENSANTS” ADL TCEES ANDO CUCTIMS , HE FeNdfAars
ARS CURCNUY DENT PLATNtT FE TUM A AN, TALTAS, IM SALTS, fara)

Pad
FEASTS, PANTER OTS, MTOWally ThLamrc Bankes ans bURLECAT IONS,
CHYCATVON AL Rooks ~ANO PuRcreet cons, Ach played, TStanrte cys,

SM REX AND CURREC BON WIR TOUAMTO SNETING Any Iams,

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Case 5:16-cv-00538-TES-MSH Document1 Filed 12/07/16 Page 12 of 22

Q Ks

LS, IN TNT 6D. PNTSONERS NOMMALLY Nave Access TORCENTS ANY DASHT(CESE tN GENCA PL
popuratton (COB) IN Cty BUT NYT LIMTTED TH! LECTE ST OVS SER VEO COUC ATT ONAL CLASSES,
COUNSECTNE CUASSTS | WOMLIC HETATES, 69M CALK, FARD CAL, SPAY TABLET ComPUTERE, EM ate,
TO, LTBNANY, LAW CTRBARARY, AM commmeassARYs WEY NAVE Untemerlh scccss te Cclitehcact
TELEPHONES gy THE DORMS, THEY ANS ALLOWEH GATACT YFSTTS WEINER Po IL VteaTAS Eveny
WEICEND AN HOATHAY, GRUP TO GX HONS THEY May POLCELS ang KETENE PACU A AL
PAGPENTY suc as PENSUa at Quote Mah MLTINSS ASWEP APERS faved sy, CVS Co PLAYERS,
PEALON nt CLOTHES ano SHUTS AND COMmCSSANY TIEMS Suc as PERC AL NY (VENG TTEMS
And yy Bo THEY May MEce eve Bovtes aro PURCTe ate dws Pod pubs CON ERS Ch VENDORS,
NEY MaY RECETVS Koga pan cretutnd PAcioolLES Mom APPR Woo venooh ACESS SEULERAK.

Lb, PAHIAEAS ON SEORCboT ION ARS NORMAY PLOCTH GN OWS OF TNE taEng:

IO t, TISL TT, on TIEN A,

1; PASSUNDS ON THE TF ANE GIVALLY Pacey Qn mr FoR UP TU Bo brYS ON TART,
PAISENERS NIRMALLY Have AL TarcSeC “PANTO GSS poy PROP CARTY, tn UMN § Poscanaryn
OF PER HANL PRUPEMTY, BOOKS. Mab ALEMTS, NCWSPAPERS, CHS, CO PLAYERS, SPAY CubpurS
Matt, PHONG, Vestr ata dss; fine Mod (LECEIVE comm sScARY, BODIE PAGAL ES FLO
pAGESCcS, ANB CLOTHING PACKACES. Noweven, sy ne NOT HAYE preuclEsey THAT
ARE HATSTAS OF THETA CES, SVC AS MECTOCWS soy TeeS SBUCATANAL CLASSES,

COUN COCTNE CLASSTS, WOM DETAILS, CFM, LTBRARY, Any LAw CTBPLATLYY.

LG, PISONERS WHe ACCTTVS DIScrpreNARY nevonts (p.p Ze) MAY RECT REVE A
Foam OF THER D CAUCh Drser pean ANY TIULATHON as A SANETTON £6 FINN 6 uy UTY afr
by INFRA CTEM, PRECONCRS ON brSermeeWAMY TEOLATLON ARC BENTEB ACCESS TO
PEML ONAL PRUPERTY, PNYME Cals, YESETS, Ann oTITR. pracutlic bey, NeW EVERY, TUES May
NUT BE PLATO ON BTGET PLAN ARMY TLOCATITUN Fur A PENTON oF Cong ER THAW Pe JAYS,

VG, TERM Sn LIN G~TENAA Hescrpr_TA ANY Cntev een CONS FStrnl af at Wasr

NENTS MONTNS COLTTARY Con Fra cM ENT Awe BPOICEY DOWN TW TO THRE ET 3) PNas eS,

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Case 5:16-cv-00538-TES-MSH Document1 Filed 12/07/16 Page 13 of 22

I, Li ans 3, OF af (EAST 9% DLYS ON Cac PHASE,

Je PRSONcas on THER aT WAVE MD ACCESS To NELCGHOUS SENuEces,

3(, PaeSdhers ON THER TL ARS BEN TOM PYST\ OWW PERCU AL Byele C Maal aL TM, pry
NEWSPAPERS, AN MPT NUT AECEWVE aNY TNA AON THE mate.

AL, PRAUACAS ON TEER ARE HENTED nye wr Cy peayens Ann Cos/cacsenes
AND MAY NUT RECO FUT ANT TNROUGN TNS MATL,

JZ Passpdes deb THK A ANT DENTEH Access To TPAY TAR LET COMPLIES AN EMasTl.

2%, POLLUNGAS ON TEER ANE Cemeteo rv ONLY 1,1, oh 3 pee CALS PER AVININ
(pebGumimh aN WNETNSL THEY ANS ON Place 1.3 naseectavEly), ON LTICS GOMEN aL
PUPULAT TON PRESUACRS. Wd CAN MAICS UNCTMSTCY Collect CALE

45. UNECE CP pay ONCRS, WNE MAY RECS IVE CONTACT yatrTe Ever SATUA UY,
SUNDAY, ON NU LDAY FROM FOL AM Fo Brod PM. WIN UR te IL VISFTORS | PA KION CAL ON
STEN TH MOAY ONLY ACCES EVE 1,1, 0% 3 Ysets POR MdNECH CHOP ENDIVE ON Ft THEY ARS

ON PNAS fF, 1. 0h 3 AG peer evety) Fun ONLY Twy(2d HORS wend VP pe WUD vaseTiVS,
WrIn NY cuN Tact

36. PANSONAS O08 Prep we ane DENTE ACESS To GDC COM CECINC (Lasse S THAT
ARE PRENEAYSITTES FR PAROLE gy CietTl RUT NOY NOCETSARTLY Urayaten TY!
Mut TVATTON Fon CHANGS, THANE tr Fur A CHANGES Meh AY RSCON ATION THERAPY
(Lt), RECA MRY, LeSnT, ame oR PLENE O UsestES Fun PAROLE, TNS
RENDERS THEM CNEUTHTBLE FIN PANCLC,

47, Passes or KR TF AAC OSNSEH ACCESS TO THUCATTUNAL class Es, WOME
DET ALLS, CYM CALL, LEDRLTGAANY caly Farp COLL, PENYNAL PROPERTY, Foou
NOW COOTETNE RaClendes, COMMTEARY, TV, Ano oTHR UR ERTSES AVATUR LS
AN CEN ERAG POPULATION ,

BQ BUN Coe smsUP's RANA OU, "SEGRE G a TYUN ~ THOTT, "SE TEIN TAL, ANG So”
FEROG-O0DS, “SEORED AT EON = ATER TH" Fecerog YTAL, A PRESUNT Mary GE RCACeS Ow
ETTHER TIENT Oh TEER TL “MS OFCEAmMEN FS MITES ay A THNEAT ty IE Safe ANY

(13>
Case 5:16-cv-00538-TES-MSH Document1 Filed 12/07/16 Page 14 of 22

ZONE ODE * THO
(EON Openntcon OF THE Fraesecry.” Wes STONK AND TS 50 Va ft and ALQTTAARY TH AT

TT ALOWS DEFER ANTS TO PLACE ON ATFONDSR UN THK OR TER OT Gin ayy REaOA)
TUS LTS OM Fon NO REAL ON AT ALL Te ANMCT ECE CF ySF OND ants OOK S 9 PA OMT
THEY ASSTON HMA TO CSONEpae POPULATION oN THER T, TE NOD rycy pracc Noh
ON TIEN TW, EVEN BF OTHOR. STMTUARLY CITY ATCh PATCONGRS ARS OY TIER HT O8 GP
JF, WHEN A PRecunen ce Pues ON THER oH, NE TS VOT Crys ANY Advance
WRENN NYTTCS, ON AN UPPORTUN ETT To SPEAle BE NCAR B, TO cAce WEIN ses
Oh TU BRECENT DOCUMENTARY Ev tp Ene | Hue BeetesUN To PULACS mE
PACLON®. ON THER TH Mahe BEFRS wo pacegNen re EVEN Gaven NOTTS, wists
HE 4S CRVEN WHet DO FED ANTS CAW A “TLR at NCARING," a TICAR T WAR
BS REAUAY NV HSANTNG op AUG BVT A VERBAL NTIS OF A WECTETON ALAC ARDY

MADE. NIN, HE TIA D Aasssfrepsn CMMTNES, oh EVEN A STROLLS MCMBEN

THEREOF WIL COMES FO TIC PAWUNCNS cate nour ans rere Kt, PINTS ae YOU
TTA DL NCARTNE YARNS BEml Placea Ud THER DT QEeCave OC CNITEMN
RENMON WEY WOW PLOCS Nem oN TIVR AOD NVTWEN Uo PRCONEK STAYS
ant INAT POTAT Can CNAR OS THUS DE CTS TIN RECAVSE MC Dects UN Wag
ALLEARY RECN MWADE REFURENAND,

YO, AFIR® BERG ase reNeO TH TINT pprrceldeRs May SUBMeT A whereN

APPEL, CUNSz3toN & OK an ANP SOL Eypen (Actowerd ONE BANDS AABN) ga JME
ANNAN? PACT, BTV WE Enecettaee BPS cTol, NowSVen, pd gnare
May NOT Cate WE NGErSsS OR PRELEMT BocuMeEnrARY EvTHeHCE Th

SUBPOM DF A TrR ae APPEAL. MOST TIA T ApPene ALE WBA STAM PH
BENTED. ALCL, FE A PRESONTLE +E placed Us Teen  BEchuUEe oF A
Deer PCTNARY LEPORT pny THAT Oh re CATER DISMIT6fEb, TNE
POECONSR NAS NO WAY TL ABBEDL ON SECO MECENSTHERAT ION:

Y |, ON Dbase (1 LOG, Ye FENRAMTS PLACED PLOWTECE oN TER TT PNASS T

AN DOUG Sy TNE Y OTH SVT AFFO MS NEM ANY Ay Vance NITES OK. GPAOMTUENTTY Fo

(14)
Case 5:16-cv-00538-TES-MSH Document1 Filed 12/07/16 Page 15 of 22

CPENG BE NEALD, CALL WETHESSES ON Document AY EVTBEN CEO GSK DUC Puce ss

YU, PLAINTEEE FIC A TTR a APP Ty BEFENDANTS [CUDN AMY STanrOW)
wie Bente tT ON ApPatr.e ch ve fl.

14 ON TULY 13, VOI, DEFEND ANTS NVTINCSON ANE, CANS pial PLAINTIFF
Os TIR A pase TT BUT AGATN, WETNDUT ANY AN VANCS NQTSCE, orpontuN Try Td
SPE AI, QE NCAR Y, Cale WETNESS 5 Yh PREDEAT CUTAEN CS, gh OTD. oUt BAOCeSS
PROTECT TONS,

GY pruntareFl FTIED Anl ARP EPL RécaKke BO CUNTONA SD THAD NS Wry
NUT BE ON THER TD nT ott, SUT THE APPEAL Was BENTH,

YS. ON ocTOBE 6, rm 6, DOFEAMANTS PLACED PratHTx FF ON TER WH
PNAS TP Bur Ab AIN, WITN DT pNY AS VANCE NOTTCS: OPPOrTuNtT Ty Td
SPEAIL , BE WEARD, COW WIINESEOS OK PRERCAN CVTRENCE, HM OTYTL DUE

plucecs PMRUTECTAONS,

4g. ON 0URER NYG, Cet TEFE FrteD AY ARREDL BECAUSE NS COT OED
ToT WE CNOTS NOT BS ON THR IT pt art, PUGUaNT To Oboe ek, DCeENSANTS
Hon cevsd WUMCTNE pay S Om UN THE dcTUBTE WOOL G W OSETHE THE ABDEDL ,
Bus TEV NUR ATO, THREBY EXNAVETING Thar AM EbY,

47), on aoa aen-18, Lb, PUAN TEFE SPOKES WITY DCRENDANT ALLEN Ane ACID
AR WS NES ARP EAL, ALLEN TOLy PLATATY FE NE NGA ACCETV ED TT,

Ye, on NuveMsen (6 Lv 6, BLacntrel Fricy misxOns ON THs Togve tH
COse SUL CN- 0049S F-cAN- MSN (Does).

49, ON NOVEMBER 17, L916, YC FEUDANT ALLEN NEN TER ALATA TS PCS App sat Aor
FAR Rescate tr wrt TNL Dare (W/ONG, ax MEP INOS TO RCATINTEOE’S not NS,

0, ON NOVEMBER (0; LUO, HEED ANT ACUSS reUy PLATNIT EE We Was dpa

RAQC Te PHAGE TD wprtN ovr PLINTH FU A Ca tnee lO Any DUS phucess ANUTECTIONS
é <

Sk. oN NOVEM Er LEU, HCFEND AM CY ANS Thy PlOTINATFE HO Wns Oj Wb
QA wv NINE 0

C4
IWYINIWT Baovtarul Nw AVY SUC EN OESS PReTE ct TONS,

(ISD
Case 5:16-cv-00538-TES-MSH Document1 Filed 12/07/16 Page 16 of 22

C. wane
% Behe Cen iW Cima, Use OF FINES UNC ANTTITS DS COTPP EAS, DAM ICY

CAsppeans, DUS PLOCE SS

 

SL. paar oF rue pnacttes OF TLLAM FE rWaT mystT™M MEN ANS MEQUERCO Ty CRYW AND
WEAR BEARS, ACEUTOIVE TOTNE sUNNAN (rrayaredNn) oF PROPNST MUN AMM AD (SAAS) fo
NIE COMPAN TONS, MVSIIy MEN MAY GNAR TNTM QATARDS AT HS CNTN AND cut WHAT PHUTAYDCS
Frum TNS Bolom gC SM CAAT. Bur SNoty wean 4 ACARD pT LSaST AS Covb as TNS
wromW oF TUNEL ETSTS On A “Eas T-lEM OTN "READ,

S53, PUACNTHERS Caps ts APRRUYTMATELY NAST tTACHES WTOC,

sl, pian 6D ¢ DERENDAUTS MATNTATN NUTS UACGULATIOWS (RBn") ANG STaNb ALI
o peta rent PALCE DURCS (“Sun’s"), phen CEMTT MALE PRTSONRE /QV5 wT comates) 70 Nate
LENGTN OF TWRES aeCNSE, BUT BSALTMTT BEARO LENETH TO OWLY NacEIn ch,

SE. punsuawy ry Od Sop TTROLION, Enc cesty (CENTER BARBER/ COSAETILO OY JMS NOPE, ”

SEeTrON NTLB SWAYING CUED CRS MUST AE POPLIN CLEAN AN San TttUSo AFTER

acd us

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S6 punsvany ro CDC SUB TFB Ob GY SceTION NT AS, SNavtNd CLXPPERS WETN “Brolen
GVARDS On. OTHER DAMabES Phat FUATNSA EXPUCES INE CUTTING BLADES Gh ChEATES SNALP
ENO WNECH cUvtL COMES ENTO CUN TACT WHT TNS SION SHALL NUT SE VSEb.” (sana adz0")

S), TNE Manu FA TUA GS TNS TAULT TY Fuk "NGL cUCAN ECTAPERE VIRUETDE USE BY
GRE SEEN HanTS PRoVTAS Tot CLTAPERE synw ge PACRERLY CLEAN SK AND SANTTILED
ATER EVERY USE TW BNEVENT SPREAD OF HSV, NEPaTetes, qado OTN TN FEC TINE DrEEnseS,

FR. TUE MANN FACTURSN'S TNSTAUUTEENS Con MARS CEDE” Yenc TuS UWED RY 6d¢
DEFENDANTS PREY TOE THOT COePPAS snout BE PROPERLY CLEANTH Any SAN TTT1UCY
RETER. EVERY USS TY PREUEKT crnenh gf N WN, NEPATIITS, aN OTHE TNFEC THOS DIS Cass,

SF ME PUMPUSS OF THE AB WES BRUVECTONS OF COP ANd of THE WANY FAcTURALS Own
INSTRUCT SINS ay TU PREVEYT MS Cpacan oF KN, NEP ATTS, Amy OTR TN FEC TT INS
DILERES TAU ON TNS USE Of CiTPPERS AN ADR oTWSR COM EWUUCY CQuT PAI ENT,

Gy, CUNTAARY To TNET OWW SU, ALL DEFEND ANTS MatnT Ar A CUSTOM tN GOO PATRONS

(16,
Case 5:16-cv-00538-TES-MSH Document1 Filed 12/07/16 Page 17 of 22

OF DINEEAG NING MASUFACTLACHS tTHSTAVCT TONS ONO GOCKOP AND OF ACY EN Ty

SANTTIL]E GTPPERE ANG VF VS CEEPRERS WET BROKEN CYARDS On OTH Data nf mar
EXPOSES THE Sitn TO CNAME TOGTS Arb GF twenealeo ATIC OF Bets CUT, c¥Pos«m 6

AN CLONES TH TAMENSTR fecaie QF TN ESE TION WTA NIV, NCP ATATTS, png OTN tNFCCTEDVS
DEES WHEN ART ACKEAVY COMMIN TA THE PRECON POPULAR ON. DEFAD ANTS ALSO

MATNTATN A CUSTDM OF NOT BAY BERAY TRATNENG CMplioYy ESS TO sanvTTUS CLUTPPERS

Oh NUT UST" DAMaASeH Clr PPERS,

G(. ACL DEFEM ANTS, BOTH CDE any GSP, Neve aA custleM OF EnConcews GRIOMTN 6

PLOLOT IONS TROON DISET PLENARY Actaday WAC aT OF VES OF FOROS ANH ATS AcTUAL USS,

61. AW DEFENDANTS BOT OBC AND GSB. Neve A Custudd OF Fon ctnd PAKCEN ERS
To CNAVE ON BE FORCTRLY SHAVEN, WITH CUTP PERS TNaT ANS UNSANTTIVTAD OR Br ale of

Rorh, TNNey GN DISeTPLINARY ACTION, THRE oT OF se oF FUNC Any rts AcTval WE

CATER EAS ay
63. WILE at KD GR PUTNTTEE wos PEPEATToLy Fozer Ql SilnvGn WETN ROPING, WoC
UNSANETTLUTYS) OW RamMnbED, on BotTH, ANs evi Kt, aN CiVOIMG RUE A? LcMrTen ya:

a HUY DALAL, NLL A003, Any OTHER orc OSTON SY

OY, wht at GOP pletnttFh NaS RECN AEP SOTEOLY FO cTRLY SHAVEN WIM Cirbr eps
Nia? WARS yWSANTIYICH, ON DAME ITH, OR BOTN, Ae ev TENG Nt cnciMatn | QUT NIT
mated rye ON I ofrory, WAY, RIAN, Viv/LOrY, fhe! G(Lt/Loly rcA hh of Y
NAGY, LISfius, he/rois, F/OIS, SL o/oiS, pan ate occa FTONS,

OF OW NWR 9, L016, DEFEMOANTS NUVIN CON, MAYS, ANE ANDENCON T@Le BLA ENTEFE
Tu SWAG Res BEARD, WHTEN WAS HEN ABT L tS CONC, LONGER TNan TIRE HAL Rtn CH RCA RH
LIMCT, AT SHORTER THAN THO INAS TNA NOTA CCTM ry, Botte Fe, wi Was Howrey CFE &,

NGERTLTO

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t ‘ ~

Sate Th BASS” Fan. RECE OTINS RZACONE, THEY AND OC FEND AOTS WELLE AMY,
JONES THEN FORCE RAY Daag bce pny CARLES) Him RY NTT AMS Hate EF RENTAD
HES PACE vO ME BARQEASNDR, WHEL HOFER ANTS WORTICN LCSLLEP, ANG RESTTL WaT
Ames FALT(CD TU INTERVENE, TNIURING PLAIN TEFES QAAel gn AeGNT SAOLEAGR B LANE,

ARETE DEAEGING HATO THE AMR MEM AND FonerBlLY Qlacent Hair TW A BARR CHAT,

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Case 5:16-cv-00538-TES-MSH Document1 Filed 12/07/16 Page 18 of 22

THEY TWEN PLETURNGH Wem TO Neg COU WETNUST CN AV ING HEM,

GE AS A MECLLE OF AMS Use OF FINCE PLatyTTFE SVFFERED awry pay Porn ty ATS
AACE OND (LIGONT SHOVtN DR BLADE , From WHT HS NAS str NT FULLY NSACCBS

bp. AS A CEQAT PE THs Use OF Fypcd, PLATATTEC picy VE FERED TAY TUNY FU We8 Wwasets

From THE Konmev FOS caustnd WSs oF FEELTNE day MOFTINORS IN BOTN Kans pay

AE ORAN AT ENG TS CALBAL TUNNEL SYNDROME, WIth wi dactl Plata tr EE NAS BEEN DINONVED,

(3. ON NovEMSE 16; L416, DERENDACT ALLEN THREATENS PLAN tT FP thet HS
Dron tT CANS ARM Plotarr EOS GATEVANCES OR COWSVTTS. tyAT HO WAS évtw) ro How
To Wow UNWens iN ABLE t Can RE” mat We Was NOT GuTb Te bet Blatatr Ee WOAR

_ = = \ a
FWeT BOAO aN THEE PAT CON ANN TNAT HE Was (oawl To SHAVE Platt FES GEARY EVEN
aE WO Non TO WE FoRCS To Hd FT.

09. AUN MEN Toby PLOTNTS FE, MYouRs GuTNl RAC Tr Gra) Pace I POR. THAT
STUNT Yoo PULLCH YET END Ay, ” REFERNANG to HS NOT SHAVTNE THS Day BEFORE,

GO, ABT an WOU Lore, NE FENHANT tien sent BEF ANTS NUTUEC uN, FORD,
Urns, MENDEL, NB ey, WELTAMS Anny WKEGONT TO FurerBly sHave py AUNT STE,
THEY SPRAYED WO WITT A CHEMO AGENT, MIG TF Wands WEEE Uc Any DnrAbla/
CARNE CX Nim aN RAMS, TY TUS BARA CRS

NUP, WINWT Cent HECUN TAMAN atone Wem,
Ana Tres AlY Stave fem, Ty QURAN Ts

KEMIONL THE MIG 9 TRANIANRAK EFS pen ry oat

FON MENS Wan SO MaamvuTe Ss.

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RVING, WALICTN GE, BSNK aN 6
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OVER, FOR ARGU TWRES WELLS pry Nas str. NUT NE ate ENTIRELY

Pl. Pincaeeee mov WEER AD FILE CTIVN BUR
oF FECUING gu NTS FIN GTS,

CUTS Tu NTS ARM any WMO, Aon BRUTES
om Wer ARM,
3

Bis ADD STI),

NS oN Mts ARMS, Epon Cecp

NE MICD cavscee Platner er HU
RE ATRAN pn Howe ara WE TNC TH EPS
THAN N WEEIL

WT PS EYeT
mg bo aN WES EXT Fo

AS WELL AS OO FE ANa-0N Full mere
BURNIE IN Yes TWNeat cevERe

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Case 5:16-cv-00538-TES-MSH Document1 Filed 12/07/16 Page 19 of 22

re NUS AN FHRUAT. CAVSTING NEM CNOICTNG ANA DTEFTCVUTY Btrcathwd

14% ANE IEF atsy AGERAV TCH PLATNITEFS ALREABT EXACTEM STAYS AND
AUNGT PRUBWMS, FUR WNTH NE Nae AULEADY BEEN Brag OSD, Ga THE NEXT
CATAL DAYS pinca TIER WAS SNCELING pERABly A MASA THMcd A UAY,
AND TREN SENSU FUND AED TIMES A DAY THARCAPTMN.

IE DEEN pnts Fat Ty PRuveoe ALaTITTEC mnY ands OF CaN TNl
UN Bobet ane ysStel mic- 9, LCAVTAG WEN EXP OD Py TT CONTIN TY,

V6 ENTE THAT Same nate, W/O 116, DECC aT MORLEY TNSTRUCTER THE
DUM 6VARNT PER ING WARDEN TU NOT FOTH PLACNTT FE, aun PLAtN tie WaS
DENSED BON A LVACN TheY AND A DINNG® LAY,

VPs OM Wwe eR 1Y, LOO, BEL at NUTS UN THUS ATEN CO PLATA TTT THAT
MEd A VPLS OF WXEL,” TK Same TENG Fs GUNNA HABPEN AL OVER agatn |

JB oN NOVEMBER [5 1U6, PLOTN PeFE Frc CheevancG TULF ow MHS
WILLE THETRENT, AND BEEN ANTS CUSED T7 CVT TNAT Sahe DAY, EXN AUS TING TT,
And SaytNb tr Wh PCFERRE TU DK O06 aerginiat TNVESTOAarronS UNIT,
NOWEVEA, BD ON? Rem HE COC TNTERN DL TANG STE OarcyNs UNTT GUL
CINE TEOND TH, AS TWA GOO CENTROL DEF ECS MN ATNTATNS A CUSTIMN OF
DETR LOTS Trost PRN ence To UNNRECETS ARY USES OF FIRcE.

19, OF NWEMBER ISG E PLacw Tre Ase Friee Ghee vaNcS FIB(LG 0 oy MS

Wot
YONG LCT CIVT, ANID BEFSND ANTS CLUS TT OUT TRONEXT DAY, EXNAVSTING 1, Ans Saytnl

CT Wad NECURED To THC FITEAN AL TVS TT Gatry ws UNtt. VON EVTL A 6aTN, NU ONE
FROWN THE TNTES AL ENV TE 6ATLONS UNTT TANELTS OG ATey TT, AS GOO CONTNAYL
OFFECE MWATNTATNS A CUSTUM OF HEC FT ROMUTE THH TIEN ENCS 7) ONNGC ES Ary
Vie OE Police.

90, ON NOVQWAER (8, L016, DEFSNDANTS TSGUSh MEST PTQONGKS AM ALL

STOFFE A SPec<el Holt hay MEAL, NOWEVGL TICY BENTED ONS TY PCat TIFF
BECOE OF NET NUT Haran 6.

| ( 19)
Case 5:16-cv-00538-TES-MSH Document1 Filed 12/07/16 Page 20 of 22

8 |. DN NEN cMRER LP, Loi G, POIAYT UTE OC FEN ANT EVANS LG PLSTNTEFE War He

Got & RACE TO (TTR wT] BNarc ZT, ANG TAT SWS SPEICS WET) BCFEMG AWTS NUT CSUN WHO
Tula HSL Thar PUacNtePE Was (utul RAC Toe RMASS T. NOW CUTE OC CENDANTS Wane
THSS DEC TOCON WAINpst AC FithTed PLATNTTFFE ANY NUTtC™ om OPOGRTUWTTY TU CREAIG,
BYE WEANW) CAL WHTNENSICS, of PRCKSNT EVTH ENCE BEFIRG MAGNE TTS DeCTSTIW:

82, DEFENQANT EVANS TAEN ACEVAD TO CTVE PLATNTTFE MES ay aTNt é
STAT OFF OBERS UNDE at anSerron (OUT) PLO ORAM SO NS COUU) NOT COM ALEeTR
TE PHKOGRAM,

98. on NOVEME RDG voll, plaTNTEFE Accu TURNS Nh TO DEFENDANT EVANS
TWAS CR tEVANCES ON THE NADA G6 are O/BAG DENEME OF Fayn Ut NS
LEASES Ty PROCESS tiem AND RETUIMS\ THES TY AD UN PAUCETSOO THE
NEXT DANY AER RY AEUDING Wee ReMArTS YNAVOELAKLS,

84. ON AECEMRERL) LEE, HEFEND ANT AUN THR EATONED BOATNTTEIE
ney "EOD HAVE TY BEAT YOU ANQ DANG YW BY OF THAT CELL TO Save FON;
Lowest.”

hy AUALY ane stuvs PRUBWM &, DENTa® POPlEms
86: BLATANT EE NaS REE MF PEOTALY DT AGW LK INTIN ALLERGY Ary STNUS
FROR Ws, AND Te CURILENTLY OV BREGCA Cp Tro Wea TceTrUN FIR TT,

GH. PUOTNTTIS fas ptcy REEN SVFF ATUL ON forth TOOTH ACNE And parc,

BF, ON MAN 9,185 HEC NANT GSIGT DIAGNUVSCY PLaYNt TEES
TO OTN ACIS Andy USNTAL PATNS As CEICCLY caycKa ay PART BY HS ScNUS PACERS,
WH SHS Lat D Cand coved UVTI OCIAES, ANA CSR TN PART BY SCNCTT VES TERT,

BB Gon pracarrers seyset rue 1CCOW SHE INSULT OS PLetNtY ER ty yse

SERLODING TOVTH Pace,

BF, aw BEEN ANTS RUM GO. ONS GSP DENY GONSODING TOYTN PASTS
W RPAWUNERE ON THAT,

G6. Aw BEF UMAMTS, BOTH COG Amy 6. DENY CONC ORYKE WW rate
(+
Case 5:16-cv-00538-TES-MSH Document1 Filed 12/07/16 Page 21 of 22

TU TND Th6KMT Parc un Cas,

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